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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK

DEBORAH LAUFER,                                       :
                                                      :
               Plaintiff,                             :
                                                      :
v.                                                    :       Case No: 1:20-cv-00467-LJV
                                                      :
WEBBS MOTEL, INC.,                                    :
                                                      :
               Defendant.                             :

                    PLAINTIFF’S SUPPLEMENTAL MEMORANDUM
                      IN OPPOSITION TO MOTION TO DISMISS

       Plaintiff, by and through undersigned counsel, and pursuant to Order of Court, hereby

submits this Memorandum in Opposition To Defendant’s Motion To Dismiss, filed at DE 12.

I.     Spokeo v. Robins Supports Plaintiff’s Standing

       The Supreme Court’s recent decision in Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016)

supports the conclusion that Plaintiff has standing in this case. In Spokeo, the Supreme Court held

that improper information which violated the Fair Credit Reporting Act did not, by itself, constitute

injury. However, the Spokeo Court specifically recognized the existence of statutes which provide

that the dissemination of improper information constitutes an injury with nothing more required. In

this regard, the Spokeo Court stated:

               Just as the common law permitted suit in such instances, the violation of a procedural
       right granted by statute can be sufficient in some circumstances to constitute injury in fact.
       In other words, a plaintiff in such a case need not allege any additional harm beyond the one
       Congress has identified. See Federal Election Comm’n v. Akins, 524 U. S. 11, 20-25, 118
       S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (confirming that a group of voters’ “inability to obtain
       information” that Congress had decided to make public is a sufficient injury in fact to satisfy
       Article III); Public Citizen v. Department of Justice, 491 U. S. 440, 449, 109 S. Ct. 2558, 105
       L. Ed. 2d 377 (1989) (holding that two advocacy organizations’failure to obtain information
       subject to disclosure under the Federal Advisory Committee Act “constitutes a sufficiently


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       distinct injury to provide standing to sue”).

Spokeo, 136 S.Ct. at 1549-50. In the Akins decision referenced by Spokeo, the Supreme Court, in

turn, referenced Havens Realty as follows:

                Indeed, this Court has previously held that a plaintiff suffers an "injury in fact" when
       the plaintiff fails to obtain information which must be publically disclosed pursuant to a
       statute..... See also Havens Realty Corp. v. Coleman, 455 U.S. 363, 373-374[] (1982)
       (deprivation of information about housing availability constitutes "specific injury" permitting
       standing).

Akins, 524 U.S. at 21. Thus, the Spokeo Court neither overturned nor narrowed Havens Realty, but

instead acknowledged the body of law to which Havens Realty belongs.1 Indeed, the concurring

opinion in Spokeo expressly recognized Havens Realty. Spokeo, 136 S.Ct. at 1553 (Thomas J.,

Concurring). Havens Realty was also recognized in Spokeo’s dissent. 136 S.Ct. At 1555 (Ginsburg,

J. Dissenting).

       A helpful analysis can be found in the Seventh Circuit’s opinion in Carello v. Aurora

Policemen Credit Union, 930 F. 3d 830, 832-33 (7th Cir. 2019), which recognized the existence of

strictly informational injury created by Congress. This occurs when the defendant fails to provide

information to a plaintiff that a law entitles him to obtain and review for some substantive purpose.

Id. at 835. “Once that occurs, there is no additional requirement that the plaintiff suffer any

additional harm beyond his or her failure to receive the information that the law renders subject to

disclosure. Id., citing Spokeo. Specifically, the Carello Court stated:

       An informational injury occurs when the defendant refuses to provide the plaintiff with
       information that a law—typically, a sunshine law—entitles him to obtain and review for
       some substantive purpose. See, e.g., Fed. Election Comm'n v. Akins, 524 U.S. 11, 21, 24-25,


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         In Marod, passim, this Circuit Court found substantial similarities between the ADA and
the statute at issue in Havens Realty with regard to the issue of standing and the lack of any
motive requirement of the individual plaintiff.

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        118 S. Ct. 1777, 141 L. Ed. 2d 10 (1998) (concluding that voters' inability to obtain
        information subject to disclosure under the Federal Election Campaign Act of 1971 is a
        sufficiently concrete injury); Pub. Citizen v. U.S. Dep't of Justice, 491 U.S. 440, 449, 109 S.
        Ct. 2558, 105 L. Ed. 2d 377 (1989) (explaining that, to satisfy Article III's injury
        requirement, advocacy organizations requesting information subject to disclosure under the
        Federal Advisory Committee Act need only show "that they sought and were denied" the
        information); Casillas [v. Madison Ave., Assoc., 926 F.3d 329,] 337-38 [(7th Cir. 2019)]
        ("[Akins and Public Citizen] hold that the denial of information subject to public disclosure
        is one of the intangible harms that Congress has the power to make legally cognizable."
        (emphasis omitted)). In such cases, a plaintiff "need not allege any additional harm beyond"
        his failure to receive information that the law renders subject to disclosure. Spokeo, 136 S.
        Ct. at 1549.

        Spokeo involved a statute which required that the defendant provide accurate information to

third parties. By contrast, the ADA and Regulation require that the Defendant’s online reservations

service provide certain required information directly to the Plaintiff, in addition to the option to book

an accessible room in the same manner as for non-accessible rooms. Failure to do so gives rise to

the very sort of informational injury recognized as actionable. In short, the Plaintiff’s encounter with

the discriminatory website IS the injury and there is simply no additional requirement that they visit

the hotel or intend to book a room at the hotel. Indeed, the encounter with the prohibited

discrimination occurs in the plaintiff’s own home.

        Although not an ADA case, the Supreme Court’s decision in Bates v. United States, 522 U.S.

23 (1997) is helpful. There, the Court analyzed whether a lower court could properly impose an

intent requirement into a criminal statute and held that because such a requirement was present in

a different subsection, but missing from the one at issue, that it could not be judicially imposed. Id.

at 29-30.

        Numerous Circuit Courts have followed Havens Realty Corp. v. Coleman, 455 U.S. 363

(1982) in recognizing informational injury. Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898,



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904 (2d Cir. 1993)(black testers had standing to sue over discriminatory advertisement even though

they had no intention of renting apartment); Bensman v. United States Forest Serv., 408 F.3d 945,

955-57 (7th Cir. 2005)(surveying cases and statutes where informational injury is recognized and

actionable); Watts v. Boyd Properties, 758 F.2d 1482 (11th Cir. 1985)(tester who had no intention

of renting apartment had standing to sue for receiving misleading information from defendant about

apartment availability); Carter v. Welles-Bowen Realty, Inc. 553 F.3d 979, 989 (6th Cir.

2009)(discussing informational injury); Wilderness Soc’y v. Rey, 622 F.3d 1251, 1258-60 (9th Cir.

2010)(discussing informational injury); Tandy v. City of Wichita, 380 F3d 1277, 1290 (10th Cir.

2004)(Title II ADA tester has standing to sue for failure to provide required information); In re

Nickelodeon Consumer Privacy Litig., 827 F.3d 262, 273-74 (3d Cir. 2016)(recognizing intangible

harm as including unlawful denial of access to information subject to disclosure).

II.    The Third Party ORS Providers Are Not Indispensable Parties

       The Regulation imposes liability on Defendant for its discriminatory online system, even if

operated through third parties. 28 C.F.R. Section 36.302(e)(1) (the “Regulation”), provides:

       (1)Reservations made by places of lodging. A public accommodation that owns, leases (or
       leases to), or operates a place of lodging shall, with respect to reservations made by any
       means, including by telephone, in-person, or through a third party -

(Emphasis added.)

       Thus, the Regulation is unequivocally clear and imposes liability on hotels which operate

discriminatory reservations systems through third parties. The DOJ, which promulgated this

Regulation, issued guidelines on the subject at issue. In this regard, the DOJ stated:

       Hotels and organizations commenting on their behalf also requested that the language be
       changed to eliminate any liability for reservations made through third parties, arguing that
       they are unable to control the actions of unrelated parties. The rule, both as proposed and as


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        adopted, requires covered public accommodations to ensure that reservations made on their
        behalf by third parties are made in a manner that results in parity between those who need
        accessible rooms and those who do not.
                Hotels and other places of lodging that use third party reservations services must
        make reasonable efforts to make accessible rooms available through at least some of these
        services and must provide these third party services with information concerning the
        accessible features of the hotel and the accessible rooms. To the extent a hotel or other place
        of lodging makes available such rooms and information to a third party reservation provider,
        but the third party fails to provide the information or rooms to people with disabilities in
        accordance with this section, the hotel or other place of lodging will not be responsible.

Guidelines for 28 C.F.R. Part 36, Nondiscrimination on the Basis of Disability in Public

Accommodations and Commercial Facilities, Exhibit A attached hereto, p. 133. Thus, it is plainly

clear that a hotel is directly liable for any failure of its online reservations system to comply with the

Regulation, even if operated through third parties. See Parks v. Richard, 2020 U.S. Dist. Lexis

127639, passim (M.D. Fla. 7/21//20)(hotel liable for discrimination through third party sites).

        Moreover, the third party providers are not liable to the Plaintiff. At least one court has

rejected the argument that these are indispensable parties. See Kennedy v. New Yorker Hotel Miami,

LLC, 0:18-62897, DE 34, pp. 5-7 (S.D. Fla. 6/6/19).

        The DOJ’s guideline addressed the Regulation’s applicability to third parties. See Plaintiff’s

Exhibit B, filed at DE 14-2. On this point, the DOJ states:

                In the NPRM, the Department sought guidance concerning whether this requirement
                should be applied to third party reservations services. Comments made by or on
                behalf of hotels, resort managers, and other members of the lodging and resort
                industry pointed out that, in most cases, these third parties do not have direct access
                to this information and must obtain it from the hotel or other place of lodging.
                Because third party reservations services must rely on the place of lodging to provide
                the requisite information and to ensure that it is accurate and timely, the Department
                has declined to extend this requirement directly to third party reservations services.
Id. p. 134.

        By this language, the DOJ made clear that the Regulation does not impose liability on third



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party booking systems because they do not have direct access to the information required. This

information is in the exclusive possession of the hotel and any failure to comply with the Regulation

is the hotel’s fault.

        The Statute itself is devoid of any language that would give Plaintiff a right of action against

the third parties. 42 U.S.C. Section 12182(a) only imposes liability on any person “who owns, leases

(or leases to), or operates a place of public accommodation.” The other third party providers do not

fall within any of these categories. See Huzar v. Groupon, Inc., 2018 U.S. Dist. Lexis 126653, *9-11

(N.D. Ill, 2018)(applying this reasoning to hold that third parties cannot be liable to plaintiff).

         Most importantly, these online reservations systems post information about the hotel that

was provided exclusively by the Defendant. They had no other means of obtaining the information

relevant to the hotel. By booking available rooms for the hotel, they ostensibly work in close

integration with the Defendant’s own system. Typically, hotels have direct access, with usernames

and passwords) to their own hotel sites located with the third parties and upload the information

themselves. The failure of those reservations systems to comply with the Regulation is solely the

Defendant’s fault.

        Moreover, if Defendant claims that these third parties share the fault, then Defendant is free

to add them as third party defendants for any breaches on their part. See Fed. R. Civ. P. 14.

III.    The Holding In Harty v. West Point Realty Is Flawed

        Recently, one court ruled that a plaintiff lacks standing to sue under an ORS case. See Harty

v. West Point Realty, Inc., 7:19-cv-8800-VB, DE 29 (S.D. N.Y. 8/7/20). This case was appealed to

the United States Court Of Appeals For The Second Circuit, No. 20-2672. The briefs have not yet

been submitted in that case. Plaintiff submits that the Harty decision is based on reversible error for


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several reasons.

        First, the Harty court refused to consider Harty’s affidavit and therefore ignored the evidence

submitted by the plaintiff that he intended to visit the area and needed to stay in hotels. Id. at 8-9.

By contrast, this Court can consider Laufer’s affidavit on the same point. Additionally, the court

acknowledged that the plaintiff had pled that he intended to revisit the hotel’s ORS to test it for

compliance “and/or to utilize the website to reserve a guest room and otherwise avail himself of the

... accommodations of the Property.” Id. p. 7. Despite this acknowledgment, the court then stated

that: “The complaint’s allegations, taken as true, suggest only that plaintiff intends to return to the

online reservation systems to test for statutory violations of the ADA visà-vis 28 C.F.R. §

36.302(e)(1).” Id. at 7. Thus, the Harty court refused to consider evidence and ignored the allegation

that Harty intended to stay in area hotels. This stands in stark contrast to the present instance, where

Laufer submitted an affidavit indicating her visits to New York and stay in hotels. DE 14-1, para.

5.

        The Harty court also committed reversible error when it held that the allegations did not

show the plaintiff’s “plausible intention or desire to return” to the websites but for the barriers to

access. Id. at 7. In this regard, the court made an improper credibility determination, in violation of

the standards discussed in Dorchester Fin. Sec, Inc. v. Banco BRJ, S.A., 722 F.3d 81, 87 (2d Cir.

2013)(where the jurisdictional disputed is interwoven with the underlying merits, the court must

apply the standards of Rule 56 or 12(b)(6) and cannot make a credibility determination. Moreover,

in contrast to the Harty case, Laufer presented an affidavit which explained her system of

maintaining a list of all hotels she has sued, marking the dates she visits the ORS of each, then

revisits the same shortly after the case is filed, and again when the time arrives for the hotel’s ORS


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to be required to be compliant. DE 14-1, at para. 8. Under Parks v. Richard, 2020 U.S. Dist. Lexis

86790, at *7 (M.D. Fla. 2020), such a system of rechecking suffices to establish standing on this

point.

         The Harty court also held that plaintiff failed to “set forth any allegations suggesting

[Harty’s] ability to” visit the websites. Id. at 7-8. In this regard, the court demonstrated a complete

misunderstanding of the nature of ORS discrimination. This was not a claim based on compatibility

with screen reader software, where a vision impaired individual thus has difficulty in reviewing a

commercial website. By contrast, an ORS case involves the failure of a hotel to provide the

information that is required by the Regulation. The ability to navigate the ORS is not relevant.

         In Ragin v. Harry Maclowe Real Estate Co., 6 F.3d 898 (2d Cir. 1993), the Second Circuit

held that individuals had standing to sue under the Fair Housing Act for the defendant’s placement

of display advertising for residential apartments in the newspaper because all the models portrayed

in the ad were white. The Court recognized that the plaintiffs had no actual intent to rent an

apartment. The Second Circuit followed Havens Realty and stated as follows:

                 There is no significant difference between the statutorily recognized injury suffered
         by the tester in Havens Realty and the injury suffered by the Ragins and the Cuylers, who
         were confronted by advertisements indicating a preference based on race. [citation omitted.]
         Given the private attorney general provision in section 813(a) of the Act and the Supreme
         Court's holding in Havens Realty, the district court was constrained to find that the individual
         plaintiffs had standing to bring this action in federal court.

6 F.3d at 904. Thus, in Ragin, there was never an issue as to whether or not the plaintiff’s were able

to access or read the advertisement. The issue was solely based on the information presented in that

ad.

         At pp. 8-9 of its opinion, the Harty court misread Juscinska v. Paper Factory Hotel, LLC,



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2019 U.S. Dist. Lexis 92550 (S.D.N.Y. 2019) as holding that intent to book a room is a requirement.

However, the Juscinska court only noted in dicta that the plaintiff had the intention of booking a

room. It never held that such an intent was required. Noting that the plaintiff intended to book a

room is far different from holding that such intent is a requirement of the law.

        The Harty court also misread Camacho v. Vanderbilt Univ., 2019 U.S. Dist. Lexis 209202

(S.D.N.Y. 2019). In Camacho, the defendant had challenged plaintiff’s intent on the basis that he

had filed 50 similar complaints regarding the websites of schools all over the country. 2019 U.S.

Dist. Lexis 209202, at *29. The court addressed this argument as follows:

        Defendant notes that Plaintiff's allegation that he "intends to visit Defendant's school in the
        near future if he could visit their website" is present in many, if not all, of the other
        complaints. []. From this, Defendant urges the Court to intuit that this allegation, as it
        appears in the Second Amended Complaint, should be discredited.[]. If Plaintiff were to visit
        each of the schools named in those complaints, he would be forced to travel to 42 cities
        across 19 states. []. Doubting the feasibility of such an expansive college tour, Defendant
        argues that the Second Amended Complaint does not adequately plead an intent to visit
        Defendant's school, and thus has not alleged facts that make it "reasonable to infer that
        Plaintiff's expressed intent to return to the Property is likely to materialize into fact sometime
        in the future." []
        Defendant's argument, built around citations to cases involving ADA claims relating to
        access to physical locations, misses the mark. Plaintiff has claimed that he was denied access
        to the Website, not Defendant's physical location itself. Thus, Defendant [sic] need not have
        shown that he intended to "return" to Defendant's school in Nashville, Tennessee. He is only
        required to have established a reasonable inference that he intended to return to the Website,
        and the Court has found that this requirement is met. To the extent it is relevant, Plaintiff has
        also clarified that he does not intend to visit each of the schools against which he has filed
        complaints. [] Rather, he wishes to visit each of the schools' websites, learn more about them,
        and then make an informed choice regarding which schools it would be worth visiting in
        person.[]. The Court does not doubt that it would be plausible for Plaintiff to visit the
        websites of all 50 schools, if they were accessible.

Id. at. ** 29-31. Thus, regardless of whether or not the plaintiff intends to visit the subject property,

the real issue is whether or not the plaintiff intends to visit the website.

IV.     Recent And Other Decisions


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        Other courts have recently ruled on the matter of standing. In Kennedy v. Italia, LLC,

0:19-cv-61938-MGC, DE 35 (S.D. Fla. 8/10/20), another court rejected the argument made at DE

17 that the plaintiff must intend to book a room at the hotel..

        In Kennedy v. Nila Investments, LLC, 2:19-cv-90-LGW-BWC, DE 34 (S.D. Ga. 7/1/20), one

court granted default judgment after an evidentiary hearing, finding that the plaintiff suffered

discrimination when she visited the non-compliant ORS. The court additionally found that the

plaintiff had standing because she visited the ORS both before and after the lawsuit was filed “for

the purpose of assessing the accessibility features of the property and to ascertain whether those sites

met her accessibility needs as well as the requirements of 28 C.F.R. § 36.302(e)(1).” Id. at p. 5.

        In Kennedy v. Nisha Inc., 8:20-cv-367-TPB-CPT, DE 34, pp. 6-8 (M.D. Fla. 9/17/20), one

court recently rejected the argument that a tester must intend to book a room at a hotel in order to

have standing to sue for ORS violations. The court noted both public policy arguments weighing

both in favor of and against such reasoning, but ultimately held that, “the weight of the law, as it

currently exists, supports Plaintiff’s argument as to standing.” Id. at 8.

        Other decisions, though not recent, also bear mentioning.

        In Gonzalez v. Bahar Corp., 2019 U.S. Dist. Lexis 58567, *6 (E.D.N.Y. 2019), one court in

the Eastern District of New York stated that the issue is the plaintiff’s intent to return to the website,

rather than the physical property. The court stated: “Here, [plaintiff’s] desire to return to the website

is especially plausible because this action can be completed by a few keystrokes, without cost, and

at any time. Unlike the plaintiffs in Lujan [v. Defenders of Wildlife, 504 U.S. 538 (1992)], [plaintiff]

is not alleging an intent to return to a physical location, let alone a distant one.

        In Kennedy v. Guru Krupa, Inc., 0:18-cv-63088-WPD, DE 18 (S.D. Fla. 2/26/19), another


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court denied a motion to dismiss in a hotel website case, ruling that the pleadings were sufficient

(with respect to nexus).

        In Laufer v. Mann Hospitality, LLC, 1:20-cv-620-JRN, DE 15 (W.D. Tex. 9/30/20), one court

held that Laufer lacked standing to pursue her claims regarding a hotel’s discriminatory ORS. The

Mann decision is flawed in that it did not consider the applicable rules of statutory construction,

informational injury, applicable Supreme Court precedent, or the overwhelming number of decisions

which upheld Plaintiff’s right to sue. Rather the court relied primarily on the Proximity Test (which

considers a plaintiff’s distance from the residence to hotel) and did not consider that the locus of the

injury was in the Plaintiff’s own home. The Mann decision was recently appealed to the Fifth

Circuit.

V.      The Issue Of Mootness

        Plaintiff incorporates herein by reference the section from her prior brief on the issue of

mootness. DE 7, Section VIII, pp. 18, et seq.

        By way of additional response, Defendant’s counsel represented to this Court that the

Defendant made alterations to its ORS in an effort to comply with the ADA after this lawsuit was

filed, but before it was served with process. Based on this, Defendant’s counsel represented that the

Defendant made alterations to its ORS before it had any knowledge of this lawsuit. Plaintiff is

entitled to discovery on this issue, as Defendant’s representation lacks credibility. See Plaintiff 2019

U.S. Dist. Lexis 199897, *9-10 (S.D. N.Y. 2019). First, it is a strange coincidence that, after having

ignored its obligations to comply with the Regulation, promulgated ten years ago, that the Defendant

should suddenly and independently decide that it was time to comply. Second, Defendant’s claim

of lack of knowledge of the existing lawsuit merely because it hadn’t yet been served is suspect.


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Defense attorneys actively monitor all court dockets on PACER and, as soon as an ADA case is

filed, defendants typically receive a score of letters from lawyers advising them of the lawsuit and

offering to represent them. Thus, Defendant’s claim that it was not aware of the lawsuit is simply

incredible.

       Moreover, after representing to this Court that the hotel’s ORS was compliant, Defendant’s

counsel was questioned by the Court and admitted that the hotel lacks a pool lift, required by the

applicable     standards.       See    2010     ADA      Standards     For    Accessible     Design,

ada.gov/1010ADAstandards_index.htm, Section 242.2 and 1009.2. The hotel’s ORS not indicating

that a pool lift is lacking, Defendant’s representation of compliance fell apart at the first question.

       In Klein v. Qlik Techs, Inc., 906 F.3d 215, 224 (2d Cir. 2018), the Second Circuit addressed

this issue as follows:

       We also note that mootness doctrine counsels suspicion in situations in which a defendant
       deprives a plaintiff of her stake in the litigation. For instance, when a plaintiff seeks an
       injunction, a defendant who voluntarily ceases the challenged behavior calls into question
       whether there is any way to redress the injury alleged. A rigid view of mootness would
       dismiss such an action. But it is well settled that "a defendant's voluntary cessation of a
       challenged practice does not deprive a federal court of its power to determine the legality of
       the practice." Mhany Mgmt., Inc. v. Cty. of Nassau, 819 F.3d 581, 603 (2d Cir. 2016)
       (quoting City of Mesquite v. Aladdin's Castle, Inc., 455 U.S. 283, 289, 102 S. Ct. 1070, 71
       L. Ed. 2d 152 (1982)). To prevent a defendant from strategically pausing their wrongdoing,
       getting a case dismissed as moot, and then beginning it again after the suit ends (potentially
       resulting in a new suit), federal law places the burden on the defendant who has voluntarily
       ceased her wrongdoing to prove that mootness should result. Such a defendant has "the
       formidable burden of showing that it is absolutely clear the allegedly wrongful behavior
       could not reasonably be expected to recur," Friends of the Earth, 528 U.S. at 190, and that
       "interim relief or events have completely and irrevocably eradicated the effects of the alleged
       violation," Granite State Outdoor Advert., Inc. v. Town of Orange, 303 F.3d 450, 451 (2d
       Cir. 2002) (internal quotation marks omitted).




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VI.    Conclusion

       For the foregoing reasons, Defendant’s Motion is without merit and should be denied.

       Dated: October 22, 2020
       Williamsville, New York
                                                   Respectfully submitted,


                                                   By: /s/Jonathan E. Staehr
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on October 22, 2020, I electronically filed the foregoing Plaintiff’s

Supplemental Memorandum in Opposition to Motion to Dismiss pursuant to F.R.C.P. 41(a)(1)(A)(i)

with the Clerk of the Court by using the CM/ECF System, which sent notice of such filings to all

parties.

                                                        /s/ Jonathan E. Staehr__________________
                                                        Jonathan E. Staehr, Esq.




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